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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 SAMUEL PHILBRICK, et al.,

       Plaintiffs,
                v.                                        Civil Action No. 19-773 (JEB)
 ALEX M. AZAR II, et al.,

       Defendants.




                                             ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1.       Plaintiffs’ Motion for Summary Judgment is GRANTED;

      2.       Defendants’ Cross-Motions for Summary Judgment are DENIED;

      3.       The Secretary’s November 30, 2019, approval of the Granite Advantage Program

               is VACATED and REMANDED to the agency; and

      4.       The parties shall appear for a status hearing on August 28, 2019, at 10:30 a.m.

IT IS SO ORDERED.

                                                            /s/ James E. Boasberg
                                                            JAMES E. BOASBERG
                                                            United States District Judge
      Date: July 29, 2019
